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UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTR|CT OF CAL|FORN|A, SAN FRANC|SCO DlVlSlON

 

|n re Case No. 05-30145 TEC
Case No. 05-30146 TEC
F|RST V|RTUAL COI\/|l\/|UN|CAT|ONS,
|NC., Joint|y Administered Chapter 11 Cases
Debtor. NOT|CE OF HEAR|NG ON MOT|ON TO
SUBSTANT|VELY CONSOL|DATE
Tax |D No. XX-XXXXXXX ESTATES OF CHAPTER 11 DEBTORS
|n re DATE: November 14, 2005
T||\/|E: 9:30 a.m.
CUS€€|V|€ NETVVORKS, |NC- PLACE: U.S. Bankruptcy Court
235 F’ine Street,
Debtor. San Francisco, CA 94104
JUDGE: Hon. Thomas E. Carlson
Tax |D No. XX-XXXXXXX

 

 

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TO: ALL CRED|TORS, OFFlCE OF THE UN|TED STATES TRUSTEE, PART|ES
REQUEST|NG SPEC|AL NOT|CE AND OTHER PART|ES lN lNTEREST

PLEASE TAKE NOT|CE that a hearing Will be held before the United
States Bankruptcy Court for the Northern District of California, San Francisco Division,
the Honorable Thomas E. Carlson presiding, located at 235 Pine Street, Courtroom 23,
San Francisco, California, on November 14, 2005 at 9:30 a.m. (Pacific Time), or as soon
thereafter as counsel may be heard, on the motion by the Official Commlttee of
Unsecured Credltors (the “Committee”) appointed in the above-captioned cases and First
Virtual Communications, lnc. (“FVC”) and CUseel\/le Networks, lnc. (“CUseel\/le”)
(collectively, the “Debtors”) to substantively consolidate the Debtors_’ Chapter 11 estates.

By the motion, the Commlttee and the Debtors seeks to substantively
consolidate the Chapter 11 estates of FVC and CUseel\/le pursuant to 11 U.S.C. § 105
and Federal Rule of Bankruptcy Procedure 1015 for purposes of voting and distributions
under and in furtherance of the Firszmended Joint Chapter 11 Plan Of Reorganizat/`on
(the “Plan”) proposed by the Debtors and the Commlttee. Hearing on confirmation of the
Plan, Which expressly contemplates the relief sought by this motion, is scheduled for the
same date and time as the hearing on this motion.

The motion is being made for three principal reasons. First, the Debtors
and their creditors have dealt With the Debtors as a single economic unit. Second, the
affairs of FVC and CUseel\/le are so entangled that the cost of attempting to identify and
allocate the separate assets and liabilities of FVC and CUseel\/le are prohibitive. Third,
there Would be no corresponding benefit offsetting the cost of such an undertaking

lf granted, substantive consolidation Would have three principal effects.
First, lt Will eliminate all the intercompany claims between and among the Debtors and
their estates Without entitlement to any distribution under the Plan. Second, it Will
eliminate guaranties of each Debtor against the other; thus, any joint and several liability
of either of the Debtors shall be deemed to be one obligation of the substantively

consolidated Debtors. Finally, as a result of the substantive consolidation, on the
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effective date of the Plan, all property, rights and claims of the Debtors and their estates,
and all claims against the Debtors and their estates will be deemed pooled for purposes
of allowance, treatment and distribution under the Plan.

PLEASE TAKE FURTHER NOT|CE that the motion is based on this notice
of hearing, the motion, the declaration of Gregory Sterling and the memorandum of points
and authorities in support of the motion filed concurrently herewith (the “l\/lotion
Documents”), the argument of counsel to be made at the hearing on the motion, the
documents on file with the Court in the Debtors’ cases, and such other and further
evidence that the Court may consider at the hearing. Any party in interest may obtain a
copy of the Supporting Documents by submitting a request in writing to counsel for the
Committee at the following address: Su|meyerKupetz, 1080 l\/larsh Road, Suite 110,
l\/lenlo Park, CA 94025, Attn: ChristopherAlliotts, Esq., Facsimile Number (650) 326-
5134, or at calliotts@sulmeverlaw.com.

PLEASE TAKE FURTHER NOT|CE that, pursuant to Bankruptcy Local
Rule 9014-1, any opposition to the motion must be filed and served upon counsel for the
Committee, SulmeyerKupetz, 1080 l\/larsh Road, Suite 110, l\/lenlo Parl<, CA 94025, Attn:
ChristopherAlliotts, Eso_., by no later than November 9, 2005. Any opposition must be
accompanied by any declarations or memoranda of law that the opposing party wishes to
present in support of its position. lf there is no timely opposition, the Court may grant the
relief requested in the motion by default.

DATED: October 21, 2005 SULMEYERKUPETZ

A Professional Corporation

By: /s/ Christopher Alliotts
Christopher Alliotts
Attorneys for the Official Committee
of Unsecured Credltors

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